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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


KATHY RODGERS                             :
                                          :
              Plaintiff,                  :
                                          :
     vs.                                  : Case No. 1:19-cv-01431-TCB-JCF
                                          :
UNIFUND CCR, LLC, et al.,                 :
                                          :
              Defendants.                 :

    DEFENDANTS' MOTION TO FILE SETTLEMENT AGREEMENT
                      UNDER SEAL
      Defendants Unifund CCR LLC ("Unifund") and Lazega & Johanson, LLC

("Lazega"), by and through their undersigned counsel, hereby move to file the

settlement agreement in this matter under seal. In support thereof, Defendants state

as follows:

      1.       On August 30, 2019, Defendants moved to enforce the parties'

settlement agreement (the "Motion" or "Motion to Enforce"). (See Doc. 21.) In the

Motion, Defendants explain that Plaintiff's counsel accepted and approved a written

settlement agreement (the "Settlement Agreement") on behalf of his client, then later

changed his mind and refused to sign it based on his (erroneous) belief that the

agreement prohibits Unifund from filing Form 1099-C. Defendants attached a copy

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of the Settlement Agreement to their Motion, (Exhibits C and D-1 to Doc. 21), to

show both (a) that Plaintiff's counsel approved the version of the agreement sent to

him by Defendants, with one change to his signature block requested, and (b) that

nothing in the Settlement Agreement speaks to, much less prohibits, filing Form

1099-C.

      2.       As Plaintiff's counsel is well aware, Defendants consider the settlement

amount to be highly confidential.1 Indeed, the Settlement Agreement contains a

confidentiality provision. Accordingly, Defendants redacted specific settlement

numbers from the exhibits attached to their Motion, including redaction of the final

settlement amount in the Settlement Agreement. (See Doc. 21-3 at 2; Doc. 21-5 at

1.)

      3.       In order to avoid unnecessary motion practice, while seeking to protect

the confidentiality of the settlement amount which was not relevant to the parties'

dispute, Defendants chose to redact the settlement amount rather than move to file

the entire agreement (or even part of it) under seal. Defendants note in their Motion

to Enforce that the settlement amount is not pertinent to the parties' dispute, but that




      1
        The Motion itself also repeatedly refers to a "confidential" settlement
amount. (Doc. 21 at 2, 4.)

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Defendants would provide an unredacted agreement for the Court's review should

the Court find it necessary. (Doc. 21 at 4, n. 1.)

      4.       After Defendants filed the Motion to Enforce, Plaintiff's counsel

contacted Defendants' counsel, asking if Defendants' counsel intended to file

unredacted copies of the exhibits under seal. (See correspondence, attached as

Exhibit A.) Counsel for Unifund responded to Plaintiff's counsel that the settlement

amount was the only redacted term, and it was not relevant to the Motion. Unifund's

counsel asked Plaintiff's counsel to explain why he thought it was relevant if he

disagreed. (See Exhibit B.)

      5.       Plaintiff's   counsel   responded     that   Defendants   had   waived

confidentiality as to the agreement by not filing it under seal, and that he would move

forward with unredacted filings if Defendants did not move to file the agreement

under seal. Plaintiff's counsel did not respond to Defendants' question as to the

relevance of the settlement amount. (See Exhibit C.)

      6.       A few days later, on September 3, 2019, Unifund's counsel e-mailed

Plaintiff's counsel, reiterating that the settlement amount remains confidential as it

has not been disclosed, and asked Plaintiff's counsel again as to why he thought it

was necessary to disclose the settlement amount. Plaintiff's counsel did not respond.

(See Exhibit D.)

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      7.       On September 9, 2019, Plaintiff's counsel again e-mailed Defendants'

counsel, stating, "If you do not move to file under seal I will view this as a waiver

of confidentiality and proceed to file the entire proposed agreement." (See Exhibit.

E.)

      8.       Unfiund's counsel responded by asking, for the third time, why there

was any need to disclose the settlement amount. (See Exhibit F.)

      9.       Plaintiff's counsel responded and expressly refused to provide an

explanation, instead vaguely referring to "principles of contract law." (See Exhibit

G.)

      10.      Defendants maintain that the settlement amount is not relevant in any

way, shape or form to the Motion to Enforce. Plaintiff's counsel has not raised any

issue with Defendants regarding the settlement amount or otherwise disputed that

the parties agreed on a specific number that is reflected in the Settlement

Agreement.2       Defendants also dispute Plaintiff's counsel's contention that

confidentiality of the settlement amount has been waived, given the fact that the



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         Indeed, Plaintiff's counsel's express refusal to explain his alleged basis for
needing to refer to the specific settlement amount is evident that he only has an
interest in gamesmanship and harassing Defendants, wasting the time of Defendants
and this Court, and that he has no legitimate reason for disclosing the settlement
amount.

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amount was redacted from all of Defendants' filings pertaining to the Motion to

Enforce and the settlement amount is not at issue. However, given Plaintiff's

counsel's threats to violate the confidentiality of the Settlement Agreement and

publicly disclose the settlement amount, Defendants are left with no choice but to

move to file the agreement under seal.

      11.    Accordingly, Defendants respectfully request that the Court permit

them to file the Settlement Agreement, which was previously filed as Exhibit C and

Exhibit D-1 to Defendants' Motion to Enforce in redacted form, under seal. See

Muhammad v. JP Morgan Chase Co., No. 1:15-cv-0107-AT, 2015 WL 13777036

(N.D. Ga. July 30, 2015) ("[T]he Magistrate Judge properly granted Defendants

leave to file the Settlement Agreement under seal. The Settlement Agreement, by its

own terms, was meant to remain confidential."); Siemens Indus., Inc. v. SIPCO, LLC,

No. 1:10-cv-2478-JEC, 2012 WL 5334186, at *8 (N.D. Ga. Oct. 26, 2012) (finding

good cause to grant motions to seal "because the referenced filings include and

restate the material portions of a confidential settlement agreement").

      12.    Defendants further request that the Court order Plaintiff to not publicly

file any unredacted references to the settlement amount in either the Settlement

Agreement or any draft thereof or to settlement amounts communicated by either

Plaintiff's counsel, Lazega's counsel, or Unifund's counsel in settlement negotiations.

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      13.    Plaintiff's counsel has indicated that he does not oppose Defendants'

request to file the Settlement Agreement under seal.

      14.    A proposed order is attached hereto.

      WHEREFORE, premises considered, premises considered, Defendants

respectfully request that (1) the Court permit them to file the copies of the Settlement

Agreement filed with their Motion to Enforce as Exhibits C and D-1 under seal and

(2) that the Court order Plaintiff not to file any unsealed documents that disclose the

final settlement amounts or settlement offers or demands.



      Respectfully submitted this 11 September 2019.

 /s/ Jill R. Dunn                              /s/ Rachel R. Friedman
 Jill R. Dunn                                  R. Frank Springfield (Ga. Bar 316045)
 Georgia Bar No. 602155                        fspringfield@burr.com
 Matthew N. Foree                              Rachel R. Friedman (Ga. Bar 456493)
 Georgia Bar No. 268702                        rfriedman@burr.com
 FREEMAN MATHIS & GARY, LLP                    BURR & FORMAN, LLP
 100 Galleria Parkway                          171 Seventeenth St, NW, Suite 1100
 Suite 1600                                    Atlanta, Georgia 30363
 Atlanta, Georgia 30339                        Telephone: (404) 815-3000
 (770) 818-1409 (telephone)                    Facsimile: (404) 817-3244
 (770) 937-9960 (facsimile)                    Attorneys for Defendant Unifund CCR,
 Email: jdunn@fmglaw.com                       LLC
 Email: mforee@fmglaw.com

 Attorneys for Defendant Lazega &
 Johanson LLC


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                          CERTIFICATE OF COMPLIANCE

          Pursuant to Local R. 7.1(D), this is to certify that the foregoing complies with

the font and point setting approved by the Court in Local R. 5.1(B). The foregoing

document was prepared on a computer, using Times New Roman 14-point font.

                                           s/ Rachel R. Friedman
                                           Rachel R. Friedman
                                           Georgia Bar No. 456493
                                           rfriedman@burr.com




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                             CERTIFICATE OF SERVICE

     On September 11, 2019, I electronically filed the foregoing through the
CM/ECF system, which will provide electronic notice to the following:

John William Nelson
The Nelson Law Chambers LLC
2180 Satellite Blvd., Suite 400
Duluth, Georgia 30097
john@nelsonchambers.com




                                         s/ Rachel R. Friedman
                                         Rachel R. Friedman
                                         Georgia Bar No. 456493
                                         rfriedman@burr.com




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